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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION

  UNITED STATES OF AMERICA                         CRIMINAL ACTION NO. 09-00164-07
                                                   CIVIL ACTION NO. 11-2242

  VERSUS                                           JUDGE S. MAURICE HICKS, JR.

  JOHNNY RAY HARPER                                MAGISTRATE JUDGE HORNSBY

                                 MEMORANDUM RULING

        Before the Court is a Motion to Vacate, Set Aside, or Correct Sentence under 28

  U.S.C. § 2255 (Record Document 301) filed by the Petitioner, Johnny Ray Harper

  (“Harper”). Harper seeks to have his sentence corrected on the grounds of ineffective

  assistance of counsel during his guilty plea and sentencing. See id. Harper contends that

  ineffective assistance of counsel resulted in an excessive sentence. For the reasons

  discussed herein, Harper’s motion is DENIED.

                                      BACKGROUND

        On July 23, 2009, a federal grand jury returned a 16-count indictment against Harper

  and nine others. (Record Document 1). Harper was named in Count One and Count

  Sixteen of the indictment. Count One charged that defendants knowingly and intentionally

  conspired and agreed together to possess with the intent to distribute 50 grams and more

  of a mixture and substance containing a detectable amount of cocaine base, or crack, a

  Schedule II controlled substance, all in violation of 21 U.S.C. §§ 841(a)(1) and 846. See

  id. Count Sixteen charged Harper, and one other co-defendant, with knowingly and

  intentionally possessing with the intent to distribute 50 grams and more of a mixture and

  substance containing a detectable amount of cocaine base, also known as crack cocaine,

  a Schedule II controlled substance, and did aid and abet each other in the possession, in
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  violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2. See id.

        Harper was originally represented by Charles Kincade of the Federal Public

  Defender’s Office. (Record Document 70). On August 13, 2009, John Bokenfohr filed a

  motion to enroll as Harper’s counsel. The motion was granted on August 18, 2009. The

  appointment of Charles Kincade was subsequently terminated. (Record Document 99). On

  September 24, 2009, the government filed a notice pursuant to 21 U.S.C. § 851 alleging

  Harper had a prior felony narcotics conviction, and was subject to an enhanced sentence.

  (Record Document 143). On October 19, 2009, Harper plead guilty to Count One of the

  Indictment. (Record Document 157).

        The written factual basis submitted at the time of Harper’s guilty plea provided:

                 Beginning in January, 2009, and continuing through May, 2009, Title
        III wiretaps were obtained by this Court’s orders on telephones used by co-
        defendant Derwin Lewis, based on an investigation by the Drug Enforcement
        Administration (DEA). Defendant Harper was intercepted on many calls
        during this period in which he ordered quantities of crack cocaine from Lewis
        to sell. Lewis has cooperated with the DEA in this investigation, and confirms
        that he sold 4 ounces (112 grams) of crack cocaine to Harper on 3 occasions
        (a total of 336 grams of crack cocaine) between October, 2008, and
        February, 2009. If called to testify at trial, Lewis would confirm these
        amounts.
                 Law enforcement surveillance observed Harper meeting Lewis on two
        of these dates and times as they were intercepted on the wiretaps.
                 On February 19, 2009, Harper called Lewis and arranged to buy a
        large quantity of crack. Police surveillance saw them meet in Lincoln Parish
        on that date, and observed an exchange take place between them. Harper
        was driving his vehicle, with co-defendant James Coleman with him as
        passenger.
                 Police attempted to stop Harper once he entered Bienville Parish.
        During the chase, Coleman jumped out of Harper’s car, and was observed
        to drop a bag. It was recovered, and in it was 114.1 net grams of cocaine
        base, or crack. (Lewis confirms he sold this quantity of crack to Harper on
        that date.)
                 Harper was eventually caught and arrested. In his car was an empty
        bag which tested positive for cocaine residue.



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  (Record Document 158-2). Harper signed the written factual basis on October 18, 2009.

  See id. With his signature, he agreed that “All facts above are stipulated to as true and

  sufficient to support a charge in violation of Title 21, United States Code, Section 846,

  Conspiracy to Possess with the Intent to Distribute over 50 grams of cocaine base, or

  crack.” Id.

         On July 11, 2010, Harper was sentenced to 240 months imprisonment and ten years

  supervised release upon his release from prison. (Record Document 229). On August 17,

  2010, Bokenfohr filed a motion to withdraw as Harper’s attorney. The motion was granted

  and the Federal Public Defender was appointed to represent Harper on appeal. (Record

  Documents 247, 250). Harper filed a Notice of Appeal on August 20, 2010. (Record

  Document 254).

         On July 11, 2011, the United States Court of Appeals for the Fifth Circuit affirmed

  Harper’s conviction for conspiracy to distribute 50 grams or more of cocaine base. (Record

  Document 296). The Per Curiam opinion stated:

                Harper argues that his sentence should be vacated because the Fair
         Sentencing Act of 2010 applies retroactively to persons on direct appeal;
         however, he correctly concedes that the argument is foreclosed by our
         decision in United States v. Doggins, F.3d 379, 384 (5th Cir. 2011).
                Accordingly, the defendants’ sentences are AFFIRMED.

  Id.

         On September 9, 2011, Harper filed the instant Section 2255 motion. (Record

  Document 301). He raises the following issues in his motion:

         a.     Attorney was ineffective during plea negotiations;
         b.     Attorney was ineffective during guilty plea proceedings;
         c.     Attorney was ineffective at sentencing;
         d.     Attorney operated under a conflict of interest; and
         e.     Appellate counsel was ineffective.

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                                     LAW AND ANALYSIS

         After conviction and exhaustion of a defendant’s right to appeal, the Court is “entitled

  to presume that the defendant stands fairly and finally convicted.” United States v. Shaid,

  937 F.2d 228, 231-32 (5th Cir. 1991), quoting United States v. Frady, 456 U.S. 152, 164,

  102 S.Ct 1584, 1592 (1982). “Our trial and appellate procedures are not so unreliable that

  we may not afford their completed operation any binding effect beyond the next in a series

  of endless post conviction collateral attacks. To the contrary, a final judgement commands

  respect.” Frady, 456 U.S. at 164-65, 102 S.Ct. at 1593. Consequently, issues that can be

  presented in a motion filed under 28 U.S.C. § 2255 are limited. A defendant can challenge

  a final conviction only on issues of constitutional or jurisdictional magnitude. See Shaid,

  937 F.2d at 232. As the Fifth Circuit has stated:

         Relief under 28 U.S.C.A. § 2255 is reserved for transgressions of
         constitutional rights and for a narrow range of injuries that could not have
         been raised on direct appeal and would, if condoned, result in a complete
         miscarriage of justice. Nonconstitutional claims that could have been raised
         on direct appeal, but were not, may not be asserted in a collateral
         proceeding.

  United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992) (citations omitted).

         Even if a defendant has issues that are constitutional or jurisdictional in nature, he

  may be procedurally barred from raising them. In order to raise an issue for the first time

  on collateral review, a defendant must show both “cause” for his procedural default and

  “actual prejudice” resulting from the error. Frady, 456 at 168; United States v. Segler, 37

  F.3d 1131, 1133 (5th Cir. 1994). To establish “cause,” defendant must show some external

  impediment prevented him from raising the claim on direct appeal. See United States v.

  Flores, 981 F.2d 231, 235 (5th Cir. 1993). In order to meet the “actual prejudice” test, he


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  must demonstrate not just the possibility of prejudice, “but an actual and substantial

  disadvantage, infecting his entire trial with error of constitutional dimension.” Shaid, 937

  F.2d at 233. A narrow exception to the cause and actual prejudice requirement exist in

  extraordinary cases “in which a constitutional violation has probably resulted in the

  conviction of one who is actually innocent.” Id. at 232.        The Supreme Court has

  emphasized that this exception is limited to only those cases involving “manifest

  miscarriages of injustice” that would result in the continued incarceration of an innocent

  person. See id., citing Smith v. Murray, 477 U.S. 527, 537, 106 S.Ct. 2661 2667 (1986).

  The Supreme Court in Kuhlmann v. Wilson requires:

         We conclude that the ends of justice require federal courts to entertain such
         petitions only where a petitioner supplements his constitutional claim with a
         colorable showing of factual innocence.

  Kuhlmann v. Wilson, 477 U.S. 436, 454, 106 S.Ct. 2616, 2627 (1986) (internal quotations

  omitted).

  1.     Ineffective Assistance of Counsel.

         The general rule prohibiting a defendant from raising claims on collateral review

  absent “cause” and “actual prejudice” does not apply to claims of ineffective assistance of

  counsel. Massaro v. United States, 538 U.S. 500, 504, 123 S.Ct. 1690, 1693 (2003). This

  “procedural-default rule is neither a statutory nor constitutional requirement, but it is a

  doctrine adhered to by the courts to conserve judicial resources and to respect the law’s

  important interest in the finality of judgments.” Id. at 503. Requiring a criminal defendant

  to bring claims of ineffective assistance of counsel on a direct appeal does not promote

  these objectives. Id. A claim of ineffective assistance of counsel cannot be properly

  resolved on appeal because there has been no opportunity to develop the record on the

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  merits of these allegations. See United States v. Alanis, 88 Fed. Appx 15, 19 (5th Cir.

  2004). Thus, a criminal defendant is permitted to bring ineffective assistance of counsel

  claims in a collateral proceeding under § 2255, regardless of whether such claims could

  have been raised on direct appeal. See id.

         To prevail on claims of ineffective assistance of counsel, Harper must prove (1) that

  his counsel’s actions fell below an objective standard of reasonableness and (2) that his

  counsel’s ineffective assistance was prejudicial. See Strickland v. Washington, 466 U.S.

  668, 104 S.Ct. 2052 (1984); Bryant v. Scott, 28 F.2d 1411, 1414-15 (5th Cir. 1994). Under

  the first prong of the Strickland analysis, Harper must show that his counsel “made errors

  so serious that counsel was not functioning as the ‘counsel’ guaranteed the defendant by

  the Sixth Amendment.” Strickland, 466 U.S. at 687, 104 S.Ct. at 2064. The court is to

  presume that the attorney’s actions are encompassed within the wide range of reasonable

  competence and fall under the ambit of trial strategy. The defendant may overcome this

  presumption only by showing that under the “totality of the circumstances,” the attorney’s

  performance was “outside the wide range of professionally competent assistance.” Id. at

  690, 104 S.Ct. at 2066.

         Under the second prong of the Strickland test, Harper must show “that there is a

  reasonable probability that, but for counsel’s specified errors, the result of the proceeding

  would have been different.” Murray v. Maggio, 736 F.2d 279, 282 (5th Cir. 1984). “A

  reasonable probability is a probability to undermine confidence in the outcome.” Strickland,

  466 U.S. at 690, 104 S.Ct. at 2066. Harper must demonstrate that the attorney’s actions

  “were so serious as to render the proceeding unreliable and fundamentally unfair.” United

  States v. Saenz-Forero, 27 F.3d 1016, 1021 (5th Cir. 1994), citing Lockhart v. Fretwell, 506

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  U.S. 364, 372, 113 S.Ct. 838, 844 (1993). If Harper fails to establish either prong of the

  Strickland test, his claim of ineffective assistance of counsel must be denied. See Tucker

  v. Johnson, 115 F.3d 276, 280 (5th Cir. 1997); Bryant, 28 F.3d at 1415; Williams v. Collins,

  16 F.3d 626, 631 (5th Cir. 1994).

         a.     Ineffective Counsel During Guilty Plea Negotiation.

         Harper argues that his attorney was ineffective during guilty plea negotiations and

  forced him to take a substandard plea agreement. Specifically, Harper states that his

  counsel advised the U.S. Attorney that Harper did not want to plead guilty to the initial plea,

  when in fact Harper did wish to plead guilty. (Record Document 301). Harper supplements

  the record with two affidavits - one from himself and another from Stefanie Shehee - that

  declare Attorney Bokenfohr claimed to have a plea deal in place even before he officially

  became Harper’s counsel. (Record Documents 373-4 and 373-2).

         “To establish Strickland prejudice a defendant must ‘show that there is a reasonable

  probability that, but for counsel’s unprofessional errors, the result of the proceeding would

  have been different.’ In the context of pleas a defendant must show the outcome of the

  plea process would have been different with competent advice.” Lafler v. Cooper, --- U.S.

  —, 132 S. Ct. 1376, 1384 (2012). The only error Harper assigned to his attorney during

  the negotiation of his plea agreement was that he did not attend post-indictment

  interrogations which Harper feels caused him to not receive the same type of plea offer his

  co-defendants received. The government states in their brief that the presence of an

  attorney would not have changed anything with the plea agreement that was offered, and

  ultimately accepted by Harper. (Record Document 361-1). Harper also claims that he

  would have gone to trial had his attorney not recommended that he accept the plea

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  agreement. At his Change of Plea Hearing, Harper stated that his attorney had gone over

  everything with him, line by line, and he understood the charges against him. Harper also

  stated that his attorney told him that in his opinion if the case had gone to trial, the

  government would have been able to prove him guilty of all the elements of his crime

  beyond a reasonable doubt. (Record Document 266).

         b.     Attorney was Ineffective During Guilty Plea Proceedings.

         Harper argues that his attorney was ineffective for not disputing the drug quantities

  alleged in the factual basis. During his Change of Plea Hearing, Harper was asked if he

  believed the amounts of 336 and 114 grams of cocaine base were correct and he stated

  they were correct. (Record Document 266). Sworn statements in “open court during a plea

  hearing ‘carry a strong presumption of verity.’” United States v. Martinez-Molina, 64 F.3d

  719, 733 (5th Cir. 1995). Additionally, Harper argues that his attorney was ineffective for

  not providing evidence to refute the statements he made while under oath.

         Harper also contends that the district court participated in the plea negotiations. The

  petitioner has provided no evidence to support this allegation, and there is nothing in the

  record that supports such an allegation. The written factual basis was signed only by the

  defendant, his attorney, and the government. (Record Document 158-2). This Court was

  only involved to the extent that it accepted the factual basis as required by Federal Rule

  of Criminal Procedure 11.

         c.     Attorney was Ineffective at Sentencing.

         Harper contends that his attorney was ineffective at his sentencing. In order to show

  that an attorney’s performance at sentencing was prejudicial under Strickland, Petitioner

  must show that his counsel’s error lead to an increase in his prison term. “In the vast

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  majority of cases . . . the determinative question-whether there is a ‘reasonable probability

  that, but for counsel’s unprofessional errors, the result of the proceeding would have been

  different’-remains unchanged.” Glover v. United States, 531 U.S. 198, 203, 121 S.Ct. 696,

  700, (2001).

         Harper also argues that he was sentenced for an amount of crack cocaine that was

  not alleged in the indictment. Petitioner plead guilty to conspiracy to posses with intent to

  distribute over 50 grams of cocaine base or crack cocaine. Defendant was sentenced on

  the basis of 336 grams of cocaine base. Harper signed a factual basis which listed 336

  grams of crack cocaine and also mentioned another incident involving 114 grams. The

  Court asked if Harper had any objections to these facts and he replied, “No, sir.” (Record

  Document 266).

         Petitioner also cites Apprendi violations that his attorney failed to object to during

  sentencing. Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct. 2348 (2000). “Other than

  the fact of a prior conviction, any fact that increases the penalty for a crime beyond the

  prescribed statutory maximum must be submitted to a jury, and proved beyond a

  reasonable doubt.” Id. at 490. “Counsel is not required by the Sixth Amendment to file

  meritless motions.” United States v. Gibson, 55 F.3d 173, 179 (5th Cir. 1995). Harper’s

  sentence was not outside the statutory maximum for a conspiracy charge, which is life in

  prison. Therefore, Apprendi objections were correctly not raised by his attorney.

         Harper argues that his attorney was ineffective for failing to challenge the state

  conviction that was used to enhance his sentence under 21 U.S.C. § 851. On November

  13, 1995, Harper plead guilty to possession of cocaine in Sabine Parish. On August 22,

  1996, Harper was sentenced to five years imprisonment. (Presentence Investigation

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 Report 9-10). Petitioner argues he was only involved in the possession of a sawed off

 shotgun even though he did plead guilty to cocaine possession. The Presentence Report

 does mention a sawed off shotgun at the time of the arrest, but Harper plead guilty to

 cocaine possession and has offered nothing to show that his prior conviction in Sabine

 Parish was not valid.

        Petitioner argues his sentence should have been reduced based on amendments

 to the crack cocaine guidelines and his attorney was ineffective for not delaying sentencing

 until the new guidelines were put into effect. Harper was sentenced to a statutory

 mandatory minimum of 240 months, and was not entitled to the amendments. 21 U.S.C.

 § 841(b)(1)(A)(viii). The Court has previously denied Harper’s request to reduce his

 sentence according to the amendments of the crack cocaine guidelines. (Record Document

 310). Harper’s attorney was not ineffective for failing to raise any of these issues.

        Harper has also raised the issue of his health and his co-defendant’s sentences as

 reasons the Court should grant his Section 2255 motion. Harper’s medical condition does

 not qualify as a ground for granting a Section 2255 motion. With regards to the claim that

 his co-defendants did not receive an enhanced sentence, he supplies the Court with an

 affidavit from Julius Walker saying he had a prior felony conviction and did not receive an

 enhanced sentence. Walker fails to state what his prior conviction was for in his affidavit.

 Harper received an enhanced sentence based on a prior narcotics conviction and has

 shown nothing to support his assertion that his co-defendants had similar prior convictions.

        d.     Attorney Operated Under a Conflict of Interest.

        Harper alleges that his attorney was operating under a conflict of interest by

 representing Evelyn Reed and Harper at the same time. Harper also alleges a relationship

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 between his attorney and an assistant district attorney, and that Harper’s attorney

 encouraged him to become an informant. There is no mention of Evelyn Reed anywhere

 in the record. There is also no involvement of the district attorney’s office anywhere in the

 record. “The mere fact of joint representation will certainly not show an actual conflict:

 Requiring or permitting a single attorney to represent codefendants, often referred to as

 joint representation, is not per se violative of constitutional guarantees of effective

 assistance of counsel.” United States v. Medel, 592 F.2d 1305, 1310 (5th Cir. 1979)

 (internal citation and quotations omitted). “A conflict will not be inferred from the mere fact

 of joint representation.    Nor can a conflict be established through hypothesis or

 speculation.” Id. (internal citation and quotations omitted). These alleged relationships

 appear to have had no effect on Harper’s case, when asked if he was happy with the

 performance of his attorney at his Change of Plea Hearing Harper responded, “Yes, sir.”

 (Record Document 266).

        e.     Appellate Counsel was Ineffective.

        Harper claims that his counsel on appeal was ineffective for failing to raise Apprendi

 violations, failing to challenge the § 851 sentence enhancement, and failing to raise the

 2007 amendments to the crack cocaine guidelines. “The right of effective appellate counsel

 must pass the Strickland standards . . . (1) his appellate counsel’s performance was so

 deficient as to fall below objectively reasonable conduct of appellate counsel and (2) his

 case was prejudiced as a result.” Williams v. Collins, 16 F.3d 626, 635 (5th Cir. 1994). The

 claim of ineffective assistance of counsel failed to satisfy the prejudice prong of Strickland

 where the omitted claims on appeal were without merit. “This Court has followed Jones in

 holding that counsel is not ineffective merely because counsel fails to raise issues

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 requested by defendant. We have subsequently held that counsel is not ineffective for

 failing to raise every possible point on appeal.” Sharp v. Puckett, 930 F.2d 450, 452 (5th

 Cir. 1991). Harper’s counsel on appeal was not ineffective.

                                       CONCLUSION

         The Court finds that Harper has failed to establish that he received ineffective

 assistance of counsel or that he was prejudiced by such performance. For the reasons set

 forth above, Harper’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct

 Sentence (Record Document 301) shall be DENIED.

         Pursuant to Rule 11(a) of the Rules Governing 2255 proceedings for the United

 States District Courts, this Court must issue or deny a certificate of appealability when it

 enters a final order adverse to the applicant. “Before entering the final order, the court may

 direct the parties to submit arguments on whether a certificate should issue.” Rule 11(a)

 Rule Governing Section 2255 Proceedings for the United States District Courts (emphasis

 added). Unless a Circuit Justice or District Judge issues a certificate of appealability, an

 appeal may not be taken to the court of appeals.

         In this instance, a certificate of appealability is DENIED because the applicant has

 failed to demonstrate a substantial showing of the denial of a constitutional right.

         An order consistent with this Memorandum Ruling shall issue herewith.

         THUS DONE AND SIGNED, in Shreveport, Louisiana this 12th day of September,

 2014.




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